Case 3:07-cv-00269-DRH-DGW Document 4 Filed 04/17/07 Page 1 of 2 Page ID #99



                        IN THE UNITED STATES DISTRICT COURT

                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


NATHANIEL JOHNSON, #14937-424,                   )
                                                 )
                Plaintiff,                       )
                                                 )
vs.                                              )      CIVIL NO. 07-269-DRH
                                                 )
HARLEY LAPPIN, et al.,                           )
                                                 )
                Defendants.                      )


                                 MEMORANDUM AND ORDER

HERNDON, District Judge:

        Plaintiff, a prisoner proceeding pro se, has filed an Application to Proceed In Forma Pauperis

pursuant to 28 U.S.C. § 1915 together with a civil action pursuant to 42 U.S.C. § 1983. However,

Plaintiff has not submitted a certified copy of his prison trust fund account statement for the six-

month period immediately preceding the filing of the complaint as required by § 1915(a)(1).

Instead, he has submitted a statement that reflects only three months of activity.

        IT IS HEREBY ORDERED that Plaintiff shall submit, within THIRTY (30) DAYS of the

date of the entry of this order, a certified copy of his prison trust fund account statement for the six-

month period immediately preceding the filing of the complaint. Plaintiff is ADVISED that in the

event he has been transferred among institutions during this six-month period, it is Plaintiff’s

responsibility to obtain a copy of his prison trust account statement from each such facility and to

forward it to the Court. Plaintiff is FURTHER ADVISED that his obligation to pay the filing fee

for this action was incurred at the time the action was filed; such an obligation will exist whether

or not Plaintiff is granted leave to proceed in forma pauperis. 28 U.S.C. § 1915(b)(1); see also
Case 3:07-cv-00269-DRH-DGW Document 4 Filed 04/17/07 Page 2 of 2 Page ID #100



 Lucien v. Jockisch, 133 F.3d 464, 467 (7th Cir. 1998).

        IT IS FURTHER ORDERED that upon conclusion of this thirty-day period, should

 Plaintiff fail to comply with this order, this case will be closed for failure to comply with an order

 of this Court. FED.R.CIV.P. 41(b); see generally Ladien v. Astrachan, 128 F.3d 1051 (7th Cir. 1997);

 Johnson v. Kamminga, 34 F.3d 466 (7th Cir. 1994).

        Plaintiff is ADVISED of his continuing obligation to keep the Clerk informed of any change

 in his whereabouts during the pendency of this action. This notification shall be done in writing and

 not later than seven (7) days after a transfer or other change in address occurs.

        IT IS SO ORDERED.

        DATED: April 17, 2007.



                                                          /s/ David RHerndon
                                                          DISTRICT JUDGE




                                                 -2-
